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B1040 (FORM 1040) (12/15)


          ADVERSARY PROCEEDING COVER SHEET                                                       ADVERSARY PROCEEDING NUMBER
                                                                                                 (Court Use Only)
                               (Instructions on Reverse)

      PLAINTIFFS                                                                    DEFENDANTS
       Faye L. Irey                                                                  Philip M. Ripepi
       129 Rosewood Dr.                                                              207 Orchard Court
       Monongahela, PA 15063                                                         Jefferson Hills, PA 15025

                                                                                            Ringold School District
                                                                                            c/o Portnoff Law Associates, Ltd.
                                                                                            PO Box 3020
                                                                                            Norristown, PA 19404

                                                                                              Washington County Tax Office
                                                                                              95 West Beau Street, Suite 525
                                                                                              Washington, PA 15301


                                                                                            Internal Revenue Service
                                                                                            PO Box 7346
                                                                                            Philadelphia, PA 19101-7346

                                                                                            PA Department of Revenue
                                                                                           Bankruptcy Division
                                                                                            PO Box 280946
                                                                                           Harrisburg, PA 17128-0946

                                                                                          Ronda J. Winnecour
                                                                                         Chapter 13 Trustee, W.D., P.A.
                                                                                         P.O. Box 84051
                                                                                         Chicago, IL 60689-4002

                                                                                            William G. Irey
                                                                                            c/o Candy Irey
                                                                                            6345 Hidden Dale Ave
                                                                                            Orlando, Fl. 32810-4113



      ATTORNEYS (Firm Name, Address, and Telephone No.)                             ATTORNEYS (If Known)
       Christopher M. Frye 208402
       Steidl & Steinberg, P.C.
       707 Grant Street
       Suite 2830- Gulf Tower
       Pittsburgh, PA 15219-1908
       412-391-8000 Fax: 412-391-0221
      PARTY (Check One Box Only)                                                    PARTY (Check One Box Only)
         Debtor                   U.S. Trustee/Bankruptcy Admin                          Debtor                      U.S. Trustee/Bankruptcy Admin
         Creditor                 Other                                                  Creditor                    Other
         Trustee                                                                         Trustee

  CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUES INVOLVED)

                             COMPLAINT TO SELL REAL ESTATE FREE AND CLEAR OF LIENS

                                                                   NATURE OF SUIT
            (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

       FRBP 7001(1) - Recovery of Money/Property                              FRBP 7001(6) - Dischargeability (continued)
[ ]    11-Recovery of money/property - §542 turnover of property        [ ]   61-Dischargeability - §523(a)(5), domestic support
[ ]    12-Recovery of money/property - §547 preference                  [ ]   68-Dischargeability - §523(a)(6), willful and malicious injury
[ ]    13-Recovery of money/property - §548 fraudulent transfer         [ ]   63-Dischargeability - §523(a)(8), student loan
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[ ]     14-Recovery of money/property - other                                   [ ]   64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                              (other than domestic support)
                                                                                [ ]   65-Dischargeability - other
        FRBP 7001(2) - Validity, Priority or Extent of Lien
[ ]     21-Validity, priority or extent of lien or other interest in property         FRBP 7001(7) - Injunctive Relief
                                                                                [ ]   71-Injunctive relief - imposition of stay
        FRBP 7001(3) - Approval of Sale of Property                             [ ]   72-Injunctive relief - other
[X]     31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                      FRBP 7001(8) Subordination of Claim or Interest
        FRBP 7001(4) - Objection/Revocation of Discharge                        [ ]   81-Subordination of claim or interest
[ ]     41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                      FRBP 7001(9) Declaratory Judgment
        FRBP 7001(5) - Revocation of Confirmation                               [ ]   91-Declaratory judgment
[ ]     51-Revocation of confirmation
                                                                                      FRBP 7001(10) Determination of Removed Action
        FRBP 7001(6) - Dischargeability                                         [ ]   01-Determination of removed claim or cause
[ ]     66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
[ ]     62-Dischargeability - §523(a)(2), false pretenses,                            Other
             false representation, actual fraud                                 [ ]   SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.
[ ]     67-Dischargeability - §523(a)(4), fraud as fiduciary,                   [ ]   02-Other (e.g. other actions that would have been brought in state
             embezzlement, larceny                                                         court if unrelated to bankruptcy case)
                     (continued next column)



       Check if this case involves a substantive issue of state law                           Check if this is asserted to be a class action under FRCP 23

       Check if a jury trial is demanded in complaint                                    Demand $

      Other Relief Sought
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                    BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR                                                                                       BANKRUPTCY CASE NO.
     Faye L. Irey
                                                                                                          23-22230
DISTRICT IN WHICH CASE IS PENDING                        DIVISION OFFICE                      NAME OF JUDGE
     Western District of Pennsylvania                          Pittsburgh                           Gregory L. Taddonio
                                          RELATED ADVERSARY PROCEEDING (IF ANY)

PLAINTIFF                                       DEFENDANT                                       ADVERSARY PROCEEDING NO.


DISTRICT IN WHICH ADVERSARY IS PENDING                          DIVISION OFFICE                 NAME OF JUDGE


SIGNATURE OF ATTORNEY (OR PLAINTIFF)


/s/ Christopher M. Frye
 /s/ Christopher M. Frye
 Christopher M. Frye 208402
DATE                                            Christopher M. Frye 208402
August 29, 2024

                                                              INSTRUCTIONS

         The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of all of the
property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the jurisdiction of the court
so broad, there may be lawsuits over the property or property rights of the estate. There also may be lawsuits concerning the debtor’s
discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary proceeding.

         A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding Cover Sheet,
unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic Case Filing system
(CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When completed, the cover sheet
summarizes basic information on the adversary proceeding. The clerk of court needs the information to process the adversary
proceeding and prepare required statistical reports on court activity.

        The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings or other
papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-explanatory, must be
completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an attorney). A separate cover sheet must be
submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the plaintiff is
represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an attorney, the plaintiff
must sign.
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                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

IN RE                                         )
                                              )
Faye L. Irey,                                 )       Case No. 23-22230 GLT
       Debtor(s)                              )       Chapter 13
                                              )       Adversary Case No.
                                              )       Docket No.
                                              )
                                              )
Faye L. Irey,                                 )
       Plaintiff(s)                           )
                                              )
        Vs.                                   )
                                              )
                                              )
Philip M. Ripepi,                             )
Washington County Tax Claim Office,           )
Ringold School District,                      )
Internal Revenue Service,                     )
PA Department of Revenue,                     )
Ronda J. Winnecour, Chapter 13 Trustee,       )
        Defendants(s)                         )

              COMPLAINT TO SELL REAL ESTATE FREE AND CLEAR OF LIENS

        AND NOW, come the Debtor, Faye L. Irey, by and through her attorney, Kenneth Steidl,

and Steidl and Steinberg, Attorneys at Law, and respectfully represents as follows:

1.      This is an action arising under or related to a case under Title 11, U.S.C.

2.      Jurisdiction of the Court is based on 28 U.S.C. Section 171(a), (b) and (c). Venue is
based on 28 U.S.C. Section 1473(a).
3.      Faye L. Irey is the Debtor in the above-captioned proceeding and are the Movant in this
motion.
4.      Among the Debtor’s assets is a parcel of real estate situated in Carroll Township,
Washington County, Pennsylvania located on Van Voorhis Lane known as Parcel No. 130-006-
00-00-0085-00, which is a 21-acre vacant lot.
5.      The property is encumbered by taxes owed to the Washington County Tax Office in the
approximate amount of $1,819.73. The amount is based on the proof of claim filed by
Washington County Tax Office on October 25, 2023.
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6.     The property is encumbered by taxes owed to the Ringold School District in the
approximate amount of $8,970.61. The amount is based on the proof of claim filed by Ringold
School District on January 8, 2024.
7.     The PA Department of Revenue has a tax lien against the Debtor in the amount of
$11,253.15. The amount is based on the amended proof of claim filed by PA Department of
Revenue on February 22, 2024.
8.     The Internal Revenue Service has a tax lien against the Debtor in the amount of
$41,718.31. The amount is based on the proof of claim filed by the Internal Revenue Service on
November 13, 2023.
9.     No realtor was appointed to market the property.
10.    The Debtor and William G. Irey (Sellers) and Philip M. Ripepi (Buyer) have entered into
an Agreement of Sale whereby the Debtor has agreed to sell, and the Buyer has agreed to buy the
property.
11.     The total purchase price for the real estate is $90,000.00.
12.    The Debtor and William G. Irey (Sellers) shall retain the mineral rights and also shall
retain the rights to receive all gas from previous lease.
13.     A copy of the Agreement of Sale is attached hereto and labeled Exhibit “A”.
14.    The Buyer is a neighbor of the Debtor (Seller). Other than the proximity of the Buyer to
the Seller, this is an arms length transaction.
15.    The Debtor avers that the sale price is fair and reasonable under the circumstances but
will welcome higher bids at the time of sale and confirmation.
16.    The Debtor’s counsel is seeking $2,025.00 in fees and expense reimbursement.
17.    Attached hereto and labeled Exhibit “B”, please find a copy of counsel’s fee application.
18.    The Debtor recommends that she be authorized to consummate the sale to the Buyer or to
such other person as may make a higher offer at the hearing thereon.
WHEREFORE, the Debtor requests an Order of Court authorizing the sale of the property.
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                                    Respectfully submitted,

August 29, 2024                     /s/ Christopher M. Frye
DATE                                Christopher M. Frye
                                    Attorney for the Debtor(s)
                                    STEIDL & STEINBERG
                                    Suite 2830 – Gulf Tower
                                    707 Grant Street
                                    Pittsburgh, PA 15219
                                    (412) 391-8000
                                    chris.frye@steidl-steinberg.com
                                    PA I. D. No. 208402
